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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


JOSHUA MORAN, LYNDSAY                         * CIVIL ACTION NO.
MORAN AND ANAVERNYEL                          *
NEYLAND                                       *
                                              * DISTRICT JUDGE
VERSUS                                        *
                                              *
ROBERT RUCKER, JR., P.A.M.                    * MAGISTRATE JUDGE
TRANSPORT, INC. AND                           *
CHEROKEE INSURANCE                            *
COMPANY                                       *
***********************************************
                                    NOTICE OF REMOVAL

       NOW INTO COURT, through undersigned counsel, come P.A.M. Transport, Inc.

and Cherokee Insurance Company, who respectfully avers as follows:

                                             1.

       On or about December 28, 2018, plaintiffs, Joshua Moran, Lyndsay Moran and

Anavernyel Neyland, filed a Petition for Damages in the 21st Judicial District Court for the

Parish of Livingston, State of Louisiana, naming Robert Rucker, Jr., P.A.M. Transport,

Inc., and Cherokee Insurance Company as defendants. That suit bears docket number

161686, was assigned to division “F”, and is captioned “Joshua Moran, Lyndsay Moran

and Anavernyel Neyland v. Robert Rucker, Jr., P.A.M. Transport, Inc., and Cherokee
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Insurance Company”. A copy of said Petition for Damages is attached hereto as Exhibit

“A”.

                                             2.

       Service of the Petition for Damages was requested on Cherokee Insurance

Company through the Louisiana Secretary of State, and Cherokee Insurance Company

was served on or about January 9, 2019.

                                             3.

       Service of the Petition for Damages was requested upon P.A.M. Transport, Inc.,

through the Louisiana Long Arm statute, and P.A.M. Transport, Inc. was served on or

about January 15, 2019.

                                             4.

       Service of the Petition for Damages was requested upon Robert Rucker, Jr.,

through the Louisiana Long Arm Statute. As of the date of filing of this Notice of Removal,

Robert Rucker, Jr., has not yet been served. Undersigned counsel will represent Robert

Rucker, Jr., if and when he is properly served. Without waiving the formal requirements

for service of process, Robert Rucker, Jr., joins in and consents to this Notice of Removal.

                                             5.

       Plaintiffs’ Petition for Damages neither set forth a general allegation as to whether

their claims were more or less than the requisite amount for federal court diversity

jurisdiction as Louisiana Code of Civil Procedure Article 833 requires. Nevertheless, prior

to filing suit, plaintiff’s counsel produced medical records regarding Joshua Moran,

indicating that he had been diagnosed with a traumatic brain injury as a result of the
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subject accident. (See attached Exhibit “B”. Neuropsychological report of Dr.’s Melissa

Aubert and Susan Andrews dated August 10, 2018.) Additionally, Joshua Moran has

allegedly incurred $24,694 in medical expenses.                (See attached Exhibit “C”,

correspondence from counsel for plaintiff.)

                                               6.

          Furthermore, on January 30, 2019, counsel for plaintiff extended a settlement

demand in the amount of $275,000 on behalf of plaintiff, Joshua Moran. (See attached

Exhibit “D”, email from counsel for plaintiff.)

                                               7.

          Based upon the diagnosis of a traumatic brain injury, the amount of medical

expenses incurred to date and plaintiff’s post-filing settlement demand, it is clear that the

amount claimed by plaintiff, Joshua Moran, is in excess of $75,000, exclusive of interest

and costs.

                                               8.

          At this time, it is unknown whether the claims of Lyndsay Moran or Anavernyel

Neyland exceed $75,000, exclusive of interest and cost, but this Court can exercise

supplemental jurisdiction over the claims of Lyndsay Moran and Anavernyel Neyland

pursuant to 28 U.S.C. § 1367.

                                               9.

          This Notice of Removal is filed within thirty (30) days of service of the Petition of

Damages on P.A.M. Transport, Inc. and Cherokee Insurance Company, and is therefore

timely.
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                                             10.

        Plaintiffs, Joshua Moran, Lyndsay Moran and Anavernyel Neyland are citizens of

the State of Louisiana. (See plaintiffs’ Petition for Damages, attached hereto as Exhibit

“A”.)

                                             11.

        Defendant, Robert Rucker, Jr., is a citizen of the State of Mississippi.        (See

plaintiffs’ Petition for Damages, attached hereto as Exhibit “A”.)

                                             12.

        Defendant, P.A.M. Transport, Inc., is a foreign corporation organized under the

laws of the State of Arkansas with its principal place of business in the State of Arkansas.

See attached Exhibit “E”, corporate information from the Arkansas Secretary of State.

                                             13.

        Defendant, Cherokee Insurance Company, is a foreign insurance company

incorporated under the laws of the State of Michigan and having its principal place of

business in the State of Michigan. See attached Exhibit “F”, Louisiana Department of

Insurance Company search information.

                                             14.

        Accordingly, there is complete diversity of citizenship between the plaintiffs and all

named defendants. As of the date of the filing of this Notice of Removal, plaintiffs have

not named any other defendants.
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                                             15.

       According to the foregoing, this is a civil action over which this Court has original

jurisdiction pursuant to 28 U.S.C. § 1332(a) and is one which may be removed to this

Court by defendants pursuant to 28 U.S.C. § 1441, in that it is a civil action wherein the

amount in controversy exceeds $75,000, exclusive of interest and costs, and is between

citizens of different states.

                                             16.

       In accordance with U.S.C. § 1446(d), defendants will provide appropriate notice of

this removal to the parties, and to the Clerk of Court for the 21st Judicial District Court for

the Parish of Livingston, State of Louisiana.

                                        JURY DEMAND

       Defendants are entitled to and request trial by jury on all issues herein.

       WHEREFORE, defendants, Cherokee Insurance Company and P.A.M. Transport,

Inc., pray that the action entitled “Joshua Moran, Lyndsay Moran and Anavernyel Neyland

v. Robert Rucker, Jr., P.A.M. Transport, Inc., and Cherokee Insurance Company”,

pending on the docket of the 21st Judicial District Court for the Parish of Livingston, State

of Louisiana, be removed from that State Court docket to the United States District Court

for the Middle District of Louisiana.
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                                                         Respectfully submitted,

                                                         /s/ Gerard J. Dragna____________
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                                                         A ttorneys forC herokee Insu ranc e
                                                         C om pany,and P .A .M .Transport,Inc .


                                         CERTIFICATE OF SERVICE

        I hereby certify that the foregoing pleading has been delivered to all counsel of
record, either through the CM/ECF system, depositing a copy of same in the United States
mail, first class postage prepaid, by hand delivery or by facsimile transmission, this 30th
day of January, 2019, at their last known address of record.

                                                         /s/ Gerard J. Dragna

                                                         GERARD J. DRAGNA




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